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 1                                                                  Judge Martinez
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 8
                            UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
10
     UNITED STATES OF AMERICA,        )
11                                     )              NO. CR06-307 RSM
                         Plaintiff,    )
12                                     )
                  v.                   )
13                                     )
     HONG VAN NGUYEN,                 )               ORDER CONTINUING
14   LONG DUY TRAN,                   )               TRIAL DATE
     TRINH TUYET VU,                   )
15   MONICA LE,                       )
     LIEM DUY NGUYEN,                 )
16   KHANH CONG DANG,                 )
     CUONG VAN HUYNH,                 )
17   TRU QUOC TRUONG,                 )
     KHANG THIEN TRAN,                )
18   LAI NGUYEN,                      )
     GABRIEL VICTORINO,                )
19   ANTHONY SAYASACK,                )
     TRIEU NGOC DINH                   )
20     a/k/a “Master Mike”, and        )
     QUOC SI LE,                       )
21                                     )
                         Defendants.  )
22   _________________________________)
23          THIS MATTER comes before the Court upon a joint motion by the United States
24   and the defendants for a continuance of the trial date. Having considered the entirety of
25   the records and file herein, and having held a status conference on November 8, 2006, the
26   Court rules as follows:
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     Order Continuing Trial Date - 1
     Nguyen, et al./CR06-307 RSM                                                 UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
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 1          The ends of justice served by the granting of a continuance outweigh the best
 2   interests of the public and the defendants in a speedy trial. This case is unusually
 3   complex, and all parties request a continuance to allow additional time to prepare for
 4   trial. The investigation involved the court-authorized interception of several telephones,
 5   and over 20 search warrants. Most of the intercepted calls were in Vietnamese. The
 6   discovery is extensive. The Indictment charges three different conspiracy counts against
 7   14 defendants, and additional defendants are charged in related cases. The government
 8   intends to seek a superseding indictment. Most of the defendants are in custody, which
 9   complicates attorney-client conferences, and several do not speak English, making it
10   necessary for counsel to schedule an interpreter when they meet with their clients. The
11   defendants have agreed to waive their speedy trial rights.
12          The court finds that the time period between the filing of this motion and the new
13   trial date is excludable time under the Speedy Trial Act, Title 18 U.S.C. §3161.
14          Trial of this matter is continued until April 23, 2007. Motions shall be due no
15   later than March 15, 2007.
16          DATED this 15 day of November, 2006.
17

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19
                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
20

21   Presented by:

22   s/Douglas B. Whalley
     DOUGLAS B. WHALLEY
23   Assistant United States Attorney
24
     United States Attorney's Office
     700 Stewart Street, Suite 5220
25   Seattle, WA 98101-1271
     (206) 553-4882, Fax: (206) 553-4440
26   E-mail: douglas.whalley@usdoj.gov
27
     Washington State Bar #4625

28

     Order Continuing Trial Date - 2
     Nguyen, et al./CR06-307 RSM                                                  UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
